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8                         UNITED STATES DISTRICT COURT FOR THE
9                              EASTERN DISTRICT OF CALIFORNIA
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13    CALIFORNIA CHAMBER OF                        RECUSAL ORDER

14    COMMERCE,

15         Plaintiff(s)

16                        v.                       Case No.:     2:19-cv-02019 JAM JDP

17    XAVIER BECERRA,

18         Defendant(s)

19

20           Upon examination of the above-captioned action, the undersigned judge

21   disqualifies himself. Good cause appearing therefor,

22           IT IS HEREBY ORDERED that the undersigned recuses himself as the judge for

23   the above-captioned case.

24           IT IS FURTHER ORDERED that all pending dates before Judge Mendez should

25   be vacated, to be reset by the judge that is re-assigned.

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1          IT IS FURTHER ORDERED that the Clerk of the Court reassign this case to
2    another judge for all further proceedings and that the Clerk of the Court make
3    appropriate adjustment in the assignment of civil cases to compensate for this
4    reassignment.
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6    IT IS SO ORDERED.
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9    DATED: September 27, 2021                 /s/ John A. Mendez
                                               THE HONORABLE JOHN A. MENDEZ
10
                                               UNITED STATES DISTRICT COURT JUDGE
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